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 7                             UNITED STATES DISTRICT COURT
 8                            SOUTHERN DISTRICT OF CALIFORNIA
 9                            (HONORABLE BARRY TED MOSKOWITZ)
10 UNITED STATES OF AMERICA,                  )     No. 09CR2710-BTM
                                              )
11              Plaintiff,                    )
                                              )     ORDER CONTINUING
12 v.                                         )     SENTENCING HEARING DATE
                                              )
13 NANG CHANG,                                )
                                              )
14              Defendant.                    )
                                              )
15

16              It is hereby ORDERED that the sentencing hearing date in this
17 case be continued from the current date of April 16, 2010, at 11:00 a.m.,

18 to June 25, 2010, at 10:30 a.m..

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20 DATED:     April 9, 2010
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22                                                  Honorable Barry Ted Moskowitz
                                                    United States District Judge
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